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ORIGINAL                                                   II     n            ,:~~~                l!
  UNITED STATES DISTRICT COURT
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  SOUTHERN DISTRICT OF NEW YORK
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                                                                                             ~'J,
       KATHRYN TOWNSEND GRIFFIN , HELEN                     -·-- -------·• - · · • - - - -~--___.
       MCDONALD , and THE ESTATE OF
       CHERRIGALE TOWNSEND ,                             17 Civ. 5221 (LLS)

                           Plaintiffs ,                 PRETRIAL ORDER NO. 6

                - against -

       EDWARD CHRISTOPHER SHEERAN , p/k/a
       ED SHEERAN , ATLANTIC RECORDING
       CORPORATION , d/b/a ATLANTIC
       RECORDS, SONY/ATV MUSIC PUBLISHING ,
       LLC , and WARNER MUSIC GROUP
       COPRORATION , d/b/a ASYLUM RECORDS ,

                           Defendants .
                                - - - - - - - - -x
           In preparation for trial , Plaintiffs and Defendants each

  sought in limine relief as to the following i ssues:


    (1)     Precluding Plaintiffs from: arguing that the selection and
            arrangement of unprotectable elements in Let's Get It On
            (" LGO " ) includes the compositions key signature of E flat
            major; offering any evidence that compares the LGO deposit
            copy to the LGO sound recording made by Marvin Gaye ; and ,
            offering evidence of elements in Thinking Out Loud , which
            are not in the deposit copy of LGO. Dkt. No . 207
            ("Defendants' Eighth Motion in Limine") .
     (2)    Precluding Plaintiffs from offering argument or evidence
            concerning the concert revenues from Ed Sheeran's live
            shows . Dkt . No . 210 ("Defendants' Ninth Motion in
            Limine " ) .
     (3)    Barring the testimony of Plaintiffs ' expert , Dr. Stewart ,
            or striking any references by him to the bassline , drum
            pattern , key signature , and lyrics found in the LGO sound
            recording or deposit copy. Dkt. No. 228 ("Defendants'
            Motion to Strike Pretrial Declaration of Dr. Stewart " ) .
     (4)    Excluding Defendants' proposed exhibits 217 -234 of song
            " mashup " videos . Dkt . No. 216 (" Plaintiffs ' Second Motion
            in Limine").


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   (5)    Excluding Defendants ' proposed exhibits 302 - 303 ,
          constituting pre - suit correspondence and attachments
          between the parties ' counsel. Dkt . No. 218 ("Plaintiff ' s
          Third Motion in Limine " ) .
   (6)    Excluding the proffered excerpts from the deposition
          testimony of He l en McDonald . Dkt . No . 221 (" Plaintiff ' s
          Fourth Motion in Limine " ) .
                                      12.

         For the reasons stated on the record at the conference on

March 31 , 2023 , Plaintiffs '     Second , Third , and Fourth Motions in

Limine and Defendants ' Ninth Motion in Limine are denied at this

time , with leave to renew them at trial .

                                      13 .

         The Court ' s prior Orders , including the March 24 , 2020

Order and the August 18 , 2020 Order , limit the testimony of Dr .

Stewart and are expected to be strictly followed . They forbid

testimony of the similarity of TOL to the LGO sound recording ,

bassline , or drum patterns , which might confuse the jury about

what is protected by the copyright .

                                      14.

         Defendants '   Eighth Motion in Limine is denied in part and

granted in part . Plaintiffs may rely on the E flat major key in

their selection and arrangement argument . That is not a new

legal theory and relying on the key does not pose any

insuperable surprise or prejudice to defendants. Plaintiff ' s

proposed Exhibit 128 is excluded under Evidence Rule 403 , with

leave to offer relevant portions that are not hearsay .

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                                       15 .

      The remainder of defendants' requests , those connected to

the drum pattern and bassline , are denied with leave to renew at

trial .

      So Ordered .

Dated :     New York , New York
            April 5 , 2023


                                                   ~ L-st~
                                                  LOUIS L. STANTON
                                                      U. S . D. J .




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